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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

BANG TRINH AND MAI TRINH                        §
                                                §
                                                §
VS.                                             §        CIVIL NO. 5:20-cv-00725
                                                §
WERNER ENTERPRISES, INC.                        §
RAYMOND MARSHALL HUNTER                         §

             DEFENDANT, WERNER ENTERRISES, INC’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TEXAS:

        NOW COMES, WERNER ENTERPRISES, INC. and files his Original Answer to

Plaintiffs’ Original Petition and would show the Court the following:

                                                    I.

        1.    Defendant, Werner Enterprises, Inc. denies the allegations contained in

Paragraph 1 of Plaintiff’s Original Petition are relevant given that they refer to state

procedural discovery matters.

        2.    Defendant, Werner Enterprises, Inc admits the allegations contained in

Paragraph 2 of Plaintiff’s Original Petition.

        3.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 3 of Plaintiff’s Original Petition. Raymond Marshall Hunter is not a citizen of

Texas, having moved to Nevada prior to the filing of this suit as set forth in the removal

motion.

        4.    Defendant, Werner Enterprises, Inc admits the allegations contained in

Paragraph 4 of Plaintiff’s Original Petition.

        5. Defendant Werner Enterprises, Inc denies that Defendant, Raymond Marshall

Hunter resides in Texas or was a resident of Texas at the time suit was filed. But admits




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that it “does business in Texas.” and admits that the accident made the basis of the suit

occurred in Texas. Werner denies the remainder of the allegations in Paragraph 5 of

Plaintiff’s Original Petition.

       6. Defendant, Werner Enterprises, Inc admits that the accident occurred in Bexar

County, but otherwise denies the allegations contained in Paragraph 6 of Plaintiff’s

Original Petition.

       7. Defendant, Werner Enterprises, Inc admits that there was an accident on the

day in question, the tractor trailer Raymond Marshall Hunter was driving was owned by

Werner, and that Raymond Marshall Hunter was in the course and scope of employment

on the day in question.          Otherwise, Werner Enterprises, Inc denies the allegations

contained in Paragraph 7 of Plaintiff’s Original Petition.

       8. Werner admits that, Defendant, Raymond Marshall Hunter was operating a

motor vehicle in the course and scope of employment for Werner at the time of the

accident, but otherwise denies the allegations in Paragraph 8.

       9.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 9 of Plaintiff’s Original Petition

       10. Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 10 of Plaintiff’s Original Petition

       11. Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 11 of Plaintiff’s Original Petition.

       12.     Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 12 of Plaintiff’s Original Petition.

       13.     Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 13 of Plaintiff’s Original Petition.




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       14. Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 14 of Plaintiff’s Original Petition

       15.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 15 of Plaintiff’s Original Petition.

       16.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 16 of Plaintiff’s Original Petition.

       17.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 17 of Plaintiff’s Original Petition.

       18.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 18 of Plaintiff’s Original Petition.

       19.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 19 of Plaintiff’s Original Petition.

       20.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 20 of Plaintiff’s Original Petition.

       21.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 21 of Plaintiff’s Original Petition.

       22.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 22 of Plaintiff’s Original Petition.

       23. Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 23 of Plaintiff’s Original Petition.

       24.    Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 24 of Plaintiff’s Original Petition.

       25.    Defendant, Werner Enterprises, Inc cannot either admit or deny the

allegations contained in Paragraph 25 of Plaintiff’s Original Petition as it is a question of

law as to whether interest is available or not.

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       26.        Defendant, Werner Enterprises, Inc admits that Plaintiff made a jury demand

in state court.

       27.        Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 27 of Plaintiff’s Original Petition are relevant given that they refer to state

procedural discovery matters.

       28.        Defendant, Werner Enterprises, Inc denies the allegations contained in

Paragraph 28 of Plaintiff’s Original Petition are relevant given that they refer to state

procedural trial and/or discovery matters.

       29.        Defendant, Werner Enterprises, Inc denies the allegations contained in the

prayer of Plaintiff’s Original Petition.

                                      II. AFFIRMATIVE DEFENSES

       30.        Additionally,    and/or    in     the    alternative,     Defendant,   WERNER

ENTERPRISES, INC.             would respectfully show that Plaintiffs alleged injuries and

damages were caused or contributed to by the acts, omissions of Plaintiff, Bang Trinh

which were negligent and were the sole proximate cause, producing cause, a proximate

cause and/or a new and independent intervening cause of the incident and the alleged

damages to Plaintiff.

       WHEREFORE,                 PREMISES          CONSIDERED,           Defendant,     WERNER

ENTERPRISES, INC. respectfully prays that upon final trial Plaintiff takes nothing, and for

such other and further relief, to which he may show himself entitled.


                                                  Respectfully submitted,

                                                  /S/ Larry D. Warren
                                                  LARRY D. WARREN
                                                  State Bar No. 20888450
                                                  FBN: 13339
                                                  ATTORNEYS FOR DEFENDANTS


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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of June 2020, the foregoing was filed with the
Clerk of Court using the CM/ECF system, and was served on counsel via e-mail:

Russell W. Endsley
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                                                /S/ Larry D. Warren
                                                LARRY D. WARREN




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